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Federal Deposit Insurance Corporation,
As Receiver for IndyMac Bank, F.S.B.
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA _
WESTERN DIVISION

FEDERAL DEPOSIT INSURANCE Case No.: CV09-2342-DSF-AJWx
CORPORATION, as Receiver for

IndyMac Bank, F.S.B. NOTICE OF STATUS OF
, ° SETTLEMENT
Plaintiff, Assigned to the Honorable Hon. Dale S.
Fischer

VS.
Courtroom 840

Action filed: April 3, 2009

Final Pretrial Conference: 10/04/2010
Trial Date: 11/02/2010

ALLIANCE TITLE CoO., INC., et al.,

Defendants.
[No Hearing Required]

 

 

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NOTICE OF STATUS OF SETTLEMENT

 

 
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TO THE HONORABLE COURT, THE PARTIES AND THEIR
COUNSEL OF RECORD:

PLEASE TAKE NOTICE THAT Plaintiff Federal Deposit Insurance
Corporation, as Receiver of IndyMac Bank, F.S.B. (“FDIC”), on the one hand,
and Defendants Alliance Title Co., Inc. (“Alliance”) and Reed Bennett
Robertson dba “Natural Capital” (“Robertson”) (collectively, “Defendants”),
have settled the claims that the FDIC has asserted against Defendants in this
action.

The terms of the parties’ settlement have been documented in a written
Settlement Agreement. Alliance has sought (and the settlement between FDIC
and Alliance is contingent upon) approval of the settlement by the Bankruptcy
Court for the District of Colorado in Case No. 08-23125 MER, entitled Jn re
Mercury Companies, Inc., and the hearing on that motion is scheduled for
September 22.

Because certain terms and conditions of the settlement have not yet been
completed, the FDIC anticipates that it will take an additional 30 days to

finalize all conditions and dismiss the case.

Dated: September 14, 2010 MORTGAGE RECOVERY LAW
GROUP LLP

Michael Delbick
Paul Levin

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By: Oo NA

Dana Cléusén
Attofneys for Plaintiff Federal Deposit
Insurance Corporation, as Receiver of
IndyMac Bank, F.S.B.

  
 

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NOTICE OF STATUS OF SETTLEMENT

 
